                                   Case 5:22-cv-00732-OLG Document 1-1 Filed 07/08/22 Page 1 of 3

                                                         Exhibit A to the Complaint
Location: New Braunfels, TX                                                                              IP Address: 70.114.2.99
Total Works Infringed: 24                                                                                ISP: Spectrum
 Work      Hashes                                                                UTC             Site           Published     Registered   Registration
 1         Info Hash: DF13DBDC5953B38B3E5133F037BCC8E8AF0F468D                          06-29-   Blacked        05-14-2022    05-20-2022   PA0002350380
           File Hash:                                                                     2022
           C34BA05DE519722211D78E80F30F1DBCCF669B8F44E350B62FF21AEFD8E95C46           19:56:02
 2         Info Hash: 7C627BDADFCB1575B894A71C66ADFFB95C6EFAFE                          06-29-   Blacked        10-24-2018    11-25-2018   PA0002137640
           File Hash:                                                                     2022   Raw
           9BE67B021A11DC3292BCE207B18A2311A31D90B10A04F549569DC1E091AE7C9A           19:55:41
 3         Info Hash: 3350AD6ED2ECD3F20CA9BFAB853A3CED164589B0                          06-29-   Blacked        08-05-2018    09-01-2018   PA0002119682
           File Hash:                                                                     2022   Raw
           C37AF8553805F6A6564CD2DA3705A9DAFD128B2939D7AA101D686499D196A471           16:16:07
 4         Info Hash: 05A7B52E88CC9418AD100770A8B91C7FCBB1C243                          06-29-   Blacked        04-22-2018    05-24-2018   PA0002101381
           File Hash:                                                                     2022   Raw
           BEFADF46F75084FE9D72C5C17C867576423934986E024947FA06A1ABB7E2DBE2           16:14:20
 5         Info Hash: 9E327416325533C3D0F6B592CD2F8F3F70FC1D0A                          06-29-   Blacked        11-21-2018    12-18-2018   PA0002141915
           File Hash:                                                                     2022   Raw
           BB53292CCC77CAC9E8F30E027AC2F15221938C8CE0E3E907C5957FC576F75245           16:10:22
 6         Info Hash: FCF2223C2AFD2901C1AC8C9EA95467B555E65E1E                          06-28-   Vixen          01-14-2019    02-02-2019   PA0002155387
           File Hash:                                                                     2022
           A9596964DEE36F1C6190EF9A49570A4D435010B85BD899886799BE731C4B6A07           13:45:52
 7         Info Hash: 9B2D7FF24D25691FBFA67A7F19276AFE62D75467                          06-27-   Blacked        09-26-2020    10-22-2020   PA0002261801
           File Hash:                                                                     2022
           743F0514EE583C16D839D66F135C80AD6B68A59E4C572E24310AF5362B24EE1C           20:11:47
 8         Info Hash: DB0A6C09AFAD8158D7C66AA690789A4FFF1E420F                          06-27-   Blacked        12-07-2020    12-28-2020   PA0002269082
           File Hash:                                                                     2022   Raw
           16C7BFE26C8FD0235DF2F746F947F27F88764464E2AA3A5129A6ADAA2B4B8F67           20:05:01
 9         Info Hash: 5EBAA857DB4CB94E7B579561C0FBE666094E0A10                          06-13-   Blacked        06-16-2018    07-14-2018   PA0002128317
           File Hash:                                                                     2022   Raw
           1FC7F6CAF9BCD0764A89E8ABD1F6E4A77DC4710FA7FAE67E76670DF36E184092           21:17:16
 10        Info Hash: FEBC3D3ADC2BD4AA9E0EE1AAD1491BD4B0CB1AE3                          06-13-   Blacked        09-06-2021    09-21-2021   PA0002312674
           File Hash:                                                                     2022   Raw
           2192139EC42B8CC24E6CF8507C7BEAB8D50B27875F9848FF48E68905937C51A2           20:43:56
 11        Info Hash: 3C6D5785FDC3A9947EA11D9923048076FDE43B96                          06-13-   Blacked        12-28-2018    02-02-2019   PA0002155006
           File Hash:                                                                     2022   Raw
           CC0ECD3F17E3824A92E704EF79A7ED2101BF86232CBE14F2E24D445CD091E6AB           20:42:11
                               Case 5:22-cv-00732-OLG Document 1-1 Filed 07/08/22 Page 2 of 3

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 388E7ED27703F4B83AC8FC4EA6512E7B4FBC5AEC                   06-13-   Blacked   04-07-2019   05-28-2019   PA0002200775
       File Hash:                                                              2022   Raw
       262B5FB839942C0084068E0031AADA76ED68D812EC7C6AEF113473B261AE1A29    20:41:59
13     Info Hash: 43E0D25E70530A6C6837D3E3EBC16B958F2E24AC                   06-03-   Blacked   03-28-2018   04-12-2018   PA0002091513
       File Hash:                                                              2022   Raw
       FE6FD35082C56D4DBBAEEFF99C16EAAB45C0602F2365CD617DFDDD89F06D73AD    20:35:05
14     Info Hash: 8A906C5A23F35028EFDE5B9C81D9EE277ACA0275                   06-03-   Vixen     04-24-2018   06-19-2018   PA0002126671
       File Hash:                                                              2022
       43D9A39A71EC62D1217BFFF148FE60F03596FFA9FF4E1C286370A80E90AD5222    20:33:38
15     Info Hash: 32E09D6A5978F499397CCFFAB8C889951CF3BF94                   05-13-   Blacked   05-01-2021   06-09-2021   PA0002295604
       File Hash:                                                              2022
       EADF62816A0B33E9DCC505156847A93771275B747B14A6DBC5154D2ED41A2C04    19:29:18
16     Info Hash: F4564B01B8BEA3C8E6AF2B2CD6DE955D31637880                   04-28-   Blacked   12-16-2018   02-02-2019   PA0002154976
       File Hash:                                                              2022
       73E011D3D8ED4641F35C1EAF3696D332B2E07BD9910E55AE95DE1FED1188E1C4    16:09:12
17     Info Hash: 35F1FF1A35600AEA1A436340DA1944BD3C3A0D3A                   04-28-   Blacked   07-26-2018   09-01-2018   PA0002119594
       File Hash:                                                              2022   Raw
       F997341CFEA250813769A2C58B8CE85C90588C532B71CC9E69B3CB9329FA7EA7    16:09:00
18     Info Hash: 83E5CC90978D29577233ED709F7716D44CA1DC25                   04-28-   Blacked   04-10-2018   05-23-2018   PA0002101304
       File Hash:                                                              2022
       EEB6E66B6C3FFE1EE2426F50B0E190BA3ECEDAC333AA633C9797D352A0D0ADF7    16:08:50
19     Info Hash: 272E754C63E93B5DE615DE9798364C9433033A38                   04-15-   Blacked   04-09-2022   04-23-2022   PA0002346430
       File Hash:                                                              2022
       5BBA8184DA2AEDEE912499158A064D785750AD453CBE08519B52C6D060A2B9A8    02:24:55
20     Info Hash: 36AE7939C7E36E36FB353F65662F29DE45B5BAA8                   04-13-   Blacked   04-11-2022   04-23-2022   PA0002346408
       File Hash:                                                              2022   Raw
       2DE3EA8FE0CAEE49ED3A0F2A9CEA24B3CC19FCB1CBAB241D9127F64232465F23    14:16:05
21     Info Hash: E3A72A492A2E14A9260626FF1A342DA717136519                   03-10-   Vixen     09-11-2018   10-16-2018   PA0002127780
       File Hash:                                                              2022
       C911DD30E086AEB12A5B2525A4557B48FAEB8067A18B929DC750964EB1C8B232    14:06:36
22     Info Hash: 3686A7DACD91AD65EA1FE01F6818B096CE493BB7                   03-10-   Blacked   12-21-2017   01-15-2018   PA0002070941
       File Hash:                                                              2022
       92E18C1E32D03122DE9890F2449FDB74FE2B91D7C843BC1737BA0205566143CC    14:03:28
23     Info Hash: 2086A77461DFEF73723AD2CDEB02004EE26C8A9E                   03-03-   Blacked   02-28-2022   03-29-2022   PA0002342857
       File Hash:                                                              2022   Raw
       CE9E75C0892054B49B6AD9D588CF934BAEA2F1B0DF2AF6B0836A3CB497E65638    13:42:08
                               Case 5:22-cv-00732-OLG Document 1-1 Filed 07/08/22 Page 3 of 3

Work   Hashes                                                             UTC       Site    Published    Registered   Registration
24     Info Hash: 4BD4EAA1DC0958A48BD37DA0BA02AD893D39EE77                   02-14- Vixen   11-20-2017   01-04-2018   PA0002069354
       File Hash:                                                              2022
       9F1E37B3F2A0C927923C2EC99CCFDDF270BFAABCA818E19E1583E1001155A264    20:05:09
